Case: 2:21-cv-01611-SDM-EPD Doc #: 23 Filed: 05/27/22 Page: 1 of 2 PAGEID #: 861




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 IN RE AEP STOCKHOLDER DERIVATIVE                        Master File No. 2:21-cv-00163
 LITIGATION
                                                         Judge Sarah D. Morrison
 This Document Relates to All Actions                    Magistrate Judge Elizabeth P. Deavers


                                              ORDER

       Before the Court is the Motion for Leave to File Unredacted Memorandum in Opposition

to Motion to Dismiss Under Seal. (ECF No. 27.) In the Motion, Plaintiffs Esther Kogus and

Robert L. Reese assert that their Opposition to Defendants’ Motion to Dismiss Amended

Verified Shareholder Derivative Complaint, ECF No. 26, “contains and refers to confidential

American Electric Power Company, Inc. [“AEP”] board materials that were produced to

Plaintiffs by AEP subject to a confidentiality agreement requiring that any court filings

referencing the confidential material be filed under seal.” (Id.) Plaintiffs submit that this

material “is substantially the same as that contained in Plaintiffs’ Amended Verified Shareholder

Derivative Complaint, which the Court previously allowed to be filed under seal.” (Id.)

       Based on Plaintiffs’ representations, the Court concludes that Plaintiffs’ Opposition to

Defendants’ Motion to Dismiss Amended Verified Shareholder Derivative Complaint, ECF No.

26, contains confidential information that should be shielded from public access. Accordingly,

the Motion (ECF No. 27) is GRANTED. Plaintiffs shall file an unredacted version of their

Opposition to Defendants’ Motion to Dismiss Amended Verified Shareholder Derivative

Complaint (ECF No. 26) UNDER SEAL within SEVEN (7) DAYS of the date of this Order.




                                                  1
Case: 2:21-cv-01611-SDM-EPD Doc #: 23 Filed: 05/27/22 Page: 2 of 2 PAGEID #: 862




      IT IS SO ORDERED.


Date: May 25, 2022                  /s/ Elizabeth A. Preston Deavers
                                    ELIZABETH A. PRESTON DEAVERS
                                    UNITED STATES MAGISTRATE JUDGE




                                       2
